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UNITED STATES BANKRUPTCY COURT
DISTRICT OF SOUTH DAKOTA

Bankr. No. 05-30027
Chapter 11

In re:

SI TANKA UNIVERSITY
Tax I.D. No. XX-XXXXXXX

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Debtor.

SI TANKA UNIVERSITY Adv. No. 05-3006
Plaintiff,
ORDER DISMISSING COMPLAINT
AS TO RELIEF SOUGHT REGARDING
SUBJECT FUNDING FOR FY 2006

-VSs-

UNITED STATES

DEPARTMENT OF INTERIOR,
Bureau of Indian Affairs

Defendant.

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In recognition of and compliance with the Decision entered
this day,

IT IS HEREBY ORDERED that Plaintiff£-Debtor’s Amended Complaint
is DISMISSED to the extent it seeks relief regarding its
eligibility for funding under the Tribal Controlled College or
University Assistance Act of 1978, as amended, for fiscal year
2006; and

IT IS FURTHER ORDERED that Defendant-Debtor’s September 16,
2005, Motion to Dismiss Plaintiff’s Amended Complaint is DENIED to
the extent that Plaintiff-Debtor seeks relief regarding its
eligibility for funding under the Tribal Controlled College or

University Assistance Act of 1978, as amended, for fiscal year

 
  
   

2005.
So ordered this 27th day of January, 2006.
BY THE COURT:
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this date to the parties on the attached service list. ler ean 9022(a)
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JAN 27 2006 Bankruptcy Judge JAN 27
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ourt, District of South Dakota .
»y Charles L. Nail, Jr, Clerk

 

US. Bankrupte
District of South Dees
Case: 05-03006 Document: 37 Filed: 01/27/06 Page 2 of 2

Si Tanka University
PO Box 220
Eagle Butte, SD 57625

United States Department of the Interior
Bureau of Indian Affairs

Attn: Edward F. Parisian, Director
OIEP/Office of the Director

1849 C Street NW/Ms - 3512 MID
Washington, DC 20240-0001
